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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               CR. S-08-00116-FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE THE STATUS
          v.                        )               CONFERENCE TO MONDAY
12                                  )               FEBRUARY 22, 2010
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorneys Ms. Ellen Endrizzi and Mr. Matthew C. Stegman
18   and the defendants (hereinafter referred to as the defendants): 1)Charles Head,
19   represented by attorney, Mr. Scott Tedmon; 2) Keith Brotemarkle represented by
20   attorney, Robert G. Gazley; 3) Benjamin Budoff represented by attorney, Dwight M.
21   Samuel; 4)John Corcoran, represented by attorney, Mr. Matthew C. Bockmon; 5) Lisa
22   Vang represented by attorney , Mr. Timothy E. Warriner; 6) Kou Yang, represented
23   by attorney, Mr. Joseph Low, IV; and 7) Domonic McCarns, represented by attorney,
24   Mr. James R. Greiner, hereby agree and stipulate that the current date for the status
25   conference, Monday, October 5, 2009, is hereby vacated and can be rescheduled for
26   Monday, February 22, 2010, at 10:00 a.m. in Courtroom #2 before the Honorable
27   District Court Judge, Frank C. Damrell, Jr..
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 1            Further, all of the parties, the United States of America and all of the defendants
 2   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 3   excluded under Title 18 section 3161(h)(7)(B)(ii) and section 3161(h)(7)(B)(iv),
 4   corresponding to Local code T-2 (the complexity of the case) and Local Code T-4 (to
 5   allow counsel time to prepare).
 6            Since the last Order of this Court to continue the status conference (Court Order
 7   signed on June 10, 2009, see Docket Entry # 130) the following has occurred in the
 8   case:
 9            On September 29, 2009, the government produced over 101,500 pages of new
10   and additional discovery in this case (the total amount of discovery produced by the
11   government to date is over approximately 292,000 pages). The government has
12   represented to defense counsel that there is still more discovery to be produced in this
13   case.
14            The parties agree and stipulate that with the recent production by the
15   government of over 101,500 pages of new and additional discovery, the interest of
16   justice in granting this reasonable request for a continuance outweighs all other
17   interests in this case for a speedy trial in this case, pursuant to Title 18 section
18   3161(h)(7)(B)(ii) and section 3161(h)(7)(B)(iv), corresponding to Local code T-2 (the
19   complexity of the case) and Local Code T-4 (to allow counsel time to prepare).
20            The Court’s Courtroom deputy, Ms. Michele Krueger, was contacted to ensure
21   the Court was available on Monday, February 22, 2010, and the Court is available.
22   There are no motion schedule dates set in the case. There is no trial date set in the
23   case.
24
25   ///
26   ///
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28                                                 2
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 1        Respectfully submitted:
 2                                  LAWRENCE G. BROWN
                                    ACTING UNITED STATES ATTORNEY
 3
                                    /s/ Ellen Endrizzi, by telephone authorization
 4
     DATED: 10-1-09                 _____________________________________
 5                                  Ellen Endrizi and Matthew C. Stegman
                                    ASSISTANT UNITED STATES ATTORNEYS
 6                                  ATTORNEYS FOR THE PLAINTIFF
 7   DATED: 10-1-09
                                    /s/ Scott Tedmon by e mail authorization
 8                                  ______________________________________
                                    Scott Tedmon
 9                                  Attorney for Defendant Charles Head
10   DATED: 10-1-09                 /s/ Robert G. Gazley by e mail authorization
                                    _______________________________________
11                                  Robert G. Gazley
                                    Attorney for Defendant Keith Brotemarkle
12
     DATED: 10-1-09                 /s/ Dwight M. Samuel by e mail authorization
13                                  _____________________________________
                                    Dwight M. Samuel
14                                  Attorney for Defendant Benjamin Budoff
15   DATED: 10-1-09                 /s/ Matthew Bockmon by e mail authorization
                                    ______________________________________
16                                  Matthew Bockmon
                                    Attorney for Defendant John Corcoran
17
     DATED: 10-1-09                 /s/ Timothy E. Warriner by e mail authorization
18                                  ____________________________________
                                    Timothy E. Warriner
19                                  Attorney for Defendant Lisa Vang
20   DATED: 10-1-09                 /s/ Joseph Low, IV by e mail authorization
                                    ______________________________________
21                                  Joseph Low, IV
                                    Attorney for Defendant Kou Yang
22
     DATED: 10-1-09                 /s/ James R. Greiner
23                                  ___________________________________
                                    James R. Greiner
24                                  Attorney for Defendant Dominic McCarns
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28                                            3
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 1        FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
 2
 3   DATED: October 1, 2009
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                                      _______________________________________
 5                                    FRANK C. DAMRELL, JR.
                                      UNITED STATES DISTRICT JUDGE
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